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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

IN RE:                                        )
                                              )
         Anson Craig Bridgers,                )       BANKRUPTCY NO. 06-02910
                                              )
                        Debtor(s)             )

                                 CERTIFICATE OF EMERGENCY


         Pursuant to S.D. Ind. B-1002-1(d)or S.D. Ind. B-5005-1 (d), the undersigned hereby
certifies that an emergency exists and that the petition filed concurrently herewith is not being
filed for an improper purpose, such as to harass, to cause delay, or to increase the cost of
litigation, and there is insufficient time to complete the filing.

         The undersigned further certified that the emergency which exists is:

        The Debtor(s) are subject to financial harm due to pending foreclosure and receivership
against real property.

       The undersigned further certifies that the necessity of the emergency filing has not been
caused by any lack of due diligence on the part of the undersigned, but has been brought about by
circumstances beyond the control of the undersigned or the undersigned’s clients. The
undersigned further certifies that this matter is filed with full understanding of Fed. R. Bankr. P.
9011 and the consequences of noncompliance therewith.




Date: __6/6/06__                                      __/S/ COLBY J. LEONARD__________
                                                      Colby Leonard -Atty No. 23404-64
                                                      Attorney for Debtor
